

People v Ray (2019 NY Slip Op 06983)





People v Ray


2019 NY Slip Op 06983


Decided on September 27, 2019


Appellate Division, Fourth Department



Published by New York State Law Reporting Bureau pursuant to Judiciary Law § 431.


This opinion is uncorrected and subject to revision before publication in the Official Reports.



Decided on September 27, 2019

PRESENT: SMITH, J.P., PERADOTTO, LINDLEY, DEJOSEPH, AND WINSLOW, JJ. (Filed Sept. 27, 2019.) 


MOTION NO. (341/18) KA 16-00771.

[*1]THE PEOPLE OF THE STATE OF NEW YORK, RESPONDENT, 
vNATHANIEL RAY, DEFENDANT-APPELLANT.



MEMORANDUM AND ORDER
Motion for writ of error coram nobis denied.








